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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA                                              PLAINTIFF/RESPONDENT


v.                                  Case No. 4:11-cr-40037-36

RICKY BAKER                                                               DEFENDANT/MOVANT

                                              ORDER

       Before the Court is the Report and Recommendation filed September 18, 2017, by the

Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

(ECF No. 1814). On September 28, 2017, Petitioner Ricky Baker filed objections to the Report

and Recommendation. (ECF No. 1815). The Court finds the matter ripe for consideration.

       In his Report and Recommendation, Judge Bryant recommends that Petitioner’s Motion to

Vacate Under 28 U.S.C. § 2255 (ECF No. 1792) should be denied. Specifically, Judge Bryant

finds that Petitioner’s section 2255 motion was untimely filed and that the cases Petitioner relies

on—Mathis v. United States, 136 S. Ct. 2243 (2016), and Descamps v. United States, 133 S. Ct.

2276 (2013)—do not indicate a newly recognized Supreme Court rule made retroactively

applicable to cases on collateral review. Judge Bryant also finds that, even assuming that

Petitioner’s cited cases meet that standard, they do not provide Petitioner relief because they relate

to the Armed Career Criminal Act (“ACCA”), while Petitioner’s sentence was not impacted by

the ACCA because he received a sentence enhancement as a career offender under U.S.S.G. §

4B1.1(a). Judge Bryant concludes by recommending that Petitioner’s motion be denied.

       Petitioner’s objections argue that, due to several splits among circuits, Mathis has been

construed to have issued a new substantive rule that is retroactive in a post-conviction remedy

motion. The Court disagrees. The Eighth Circuit has rejected similar arguments in the past,

holding that “the existence of conflicting authority [does not determine] whether a decision
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establishes a new rule.” Headbird v. United States, 831 F.3d 1092, 1096-97 (8th Cir. 2016). Judge

Bryant correctly stated that Mathis did not establish a new constitutional right. “[A] case

announces a new rule if the result was not dictated by precedent existing at the time the defendant’s

conviction became final.” Id. at 1095 (emphasis in original). Mathis expressly stated that it based

its holding on precedent.     See Mathis, 136 S. Ct. at 2257 (“Our precedents make this a

straightforward case.”). Thus, Mathis does not create a newly recognized right that is retroactively

applicable to cases on collateral review. As a result, Petitioner cannot rely on Mathis to extend his

time to timely file a section 2255 motion.

       Petitioner’s objections also argue without citing to supporting authority that Mathis applies

to any enhancement, whether under the ACCA or the United States Sentencing Guidelines. The

Court agrees with Judge Bryant that Mathis relates to the ACCA. Mathis held that a prior

conviction cannot qualify as the generic form of a predicate violent felony offense listed in the

ACCA if the prior conviction’s elements are broader than those of the generic offense. Id. at 2251,

2257. Mathis does not also extend this holding to encompass the United States Sentencing

Guidelines, as Petitioner claims. Thus, the Court is unpersuaded by Petitioner’s argument.

       Accordingly, the Report and Recommendation (ECF No. 1814) is adopted in toto.

Petitioner’s motion (ECF No. 1792) is hereby DENIED.

       IT IS SO ORDERED, this 2nd day of October, 2017.

                                                              /s/ Susan O. Hickey
                                                              Susan O. Hickey
                                                              United States District Judge




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